Case 4:16-cv-00003-WTM-GRS Document 1-4 Filed 01/06/16 Page 1 of 24




          EXHIBIT                           'CD"
          Case 4:16-cv-00003-WTM-GRS Document 1-4 Filed 01/06/16 Page 2 of 24
•                                                              -
-
                                                                       ..   t'LrJYEO FcJ1Fp1 lila
                                                                               iE      jfl     R
                                                                                CIbWUfM CO.; GA
                            IN THE STATE COURT OF CHATECAM
                                                                                            •o
                                           STATE OF GEORGIA



    GRACIE F. scorr                                    )



                                                       )

              Plaintiffs,                              )




    vs.                                                )




                                                       )   Civil Action No. __________
                                                       )


    BELK, INC.,

              Defendant.                                                                                      El


                                                                                                         'N

                                                 SUMMONS

      TO:       BELK, INC
                c/oNatioualRsgistezulAgentslnc.
                1200chbeeStNoxlbeast Suite 1240
                Allanta, GA 30361


              You are hereby summoned and required to file with the Clerk of this Court and to serve
      upon the Plaintiffs attonley, whose name and address arc:

                        B. Craig Stafford
                        ARNOLD & STAFFORD
                        Post Office Box 339
                        Hineaville, Georgia 31310
                        (912) 369-4529


      an answer to the Complaint that is herewith served upon you within 30 days after service of this

      summons upon you, exclusive of the day of service. Ifyou fail to do so, judgment by default will

      be taken against you for the relief demanded in the Complaint.




     Date:     I C)                                         u(OJcJQ)4_J
                                                              (Deputy] &Wk
                                                               ChamCoyn State Court
          -



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               2
       Case 4:16-cv-00003-WTM-GRS Document 1-4 Filed 01/06/16 Page 3 of 24
  '7




                                                                                   CO' G IN
                      IN THE STATE COURT OF CHATHAM CO                                -  ,



                                 STATE OF GEORGIA
                                                                      •ZO50CT2 P?:0
  GRACIE F. SCOTT                                       )


       Plaintiffs,                                      )


  'vs.                                                  )


                                                            Civil Action No.________________
  BELK, INC.,                                           )


      Defendant.                                       )



                                                       )




                                          COMPLAINT

       COMES NOW Grade F. Scott, Plaintiff in the above-styled action, by and through her
attorneys, and shows the Court the following:                                                         v.


                                                       1.

      Plaintiff; Grade F. Scott, resides at 230 Maple Drive, N., Hinesville, Liberty County,
Georgia31313.

                                                   2.                                                 (•1


        Defendant, Belk, Inc., (hereinafter "BeW') is a corporation authorized to do business in
the State of Georgia with an office/place of business located at 7804 Abercorn Street, Suite 184,
Savannah, Chatham County, Georgia Defendant may be served with process in this case by
service upon its registered agent for service of process, National Registered Agents, Inc., at 1201
Peachtree Street Northeast, Suite 1240, Atlanta, Fulton County, Georgia 30361.

                                                  3.




      Defendant was the owner and/or occupier of the Ecik department store located at 7804
Abercom St, Suite 184, Oglethorpe Mall, Savannah, GA 31406 at all limes material herein.

                                                  4.
       Jurisdiction is proper as to Defendant.

                                                  5.
       Venue is proper as to Defendant.




                                                 -1-
          Case 4:16-cv-00003-WTM-GRS Document 1-4 Filed 01/06/16 Page 4 of 24

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                                                    6.

           On January 2, 2014, Plaintiff Gracie F. Scott was legally on the premises of the Belk
    department store located at 7804 Abercorn St., Suite 184, Oglethorpe Mali, Savannah, GA
    31406, as an invitee and customer/patron for the specific purpose of shopping at said Belk
    department store.

                                                    7.

            While on the premises and within the Belk Department Store building, and while walking
    in the store within the pedestrian/customer designated walk way on the first floor and exercising
    all reasonable and dpe care for her safety, Plaintiff Gracie Scott stepped on an area of tile and
    grout which was unsafe, dangerous, and not properly maintained and which caused her to fall to
    the ground and sustain bodily injuries.

                                                    8.

          Plaintiff Gracie F. Scott's fall was the direct result of the unsafe, dangerous condition of
    abnormal and uneven tile and grout surfacing.


                                                    9.

           Agents and/or employees of Defendant were negligent in allowing the uneven tile and
    grout condition to exist.

                                                    10.

           Defendant's agents and/or employees were negligent in that they failed to exercise
    ordinary care in keeping the premises safe.

                                                    11.

           Said negligence of Defendant's agents and/or employees is imputed to Defendant.

                                                   12.

            As a direct and proximate result of Defendant's negligence, Plaintiff Grade F. Scott
    suffered bodily injuries, including but not limited to, lacerations to her face and mouth. and
    fractured teeth.
                                                   13.

          Atall4mesrelativc4othiS-incideflt,.RIPifltiff ('rracieF._Scottwas exercising due we fbr
    her own safety.

                                                   -2-
           Case 4:16-cv-00003-WTM-GRS Document 1-4 Filed 01/06/16 Page 5 of 24

I


     her own safety.


                                                   14.

            At the time and place of the incident complained of; Defendant owed Plaintiff Grade F.
     Scott a duty of exercising ordinary care to maintain the department store premises in a
     reasonably safe condition; to correct dangerous cohditions of which they knew or should have
     known and to warn Plaintiff of any dangerous condition of which Defendant knew or should
     have had knowledge.

                                                   15.

          At the time and place of the incident complained of, Defendant via its agents and
    employees, breached Its duties owed to Plaintiff Gracie F. Scott in one or more of the following
    ways:

          a.      Defendant negligently and carelessly maintained the area, and In particular, the
    walkway, in an unsafe, dangerous and defective condition

            b.     Defendant negligently and carelessly failed to discover the unsafe, dangerous and
    defective condition of the walkway area by conducting proper inspections;

            C.      After Defendant learned or discovered this dangerous, unsafe and defective
    condition in the walkway, Defendant nonetheless failed to cause appropriate steps to be taken to
    remedy such condition and negligently and carelessly failed to correct it; and

             d.    After learning of the dangerous condition, Defendant negligently and carelessly
    failed to warn Plaintiff Gracie F. Scoff about it

                                                  16.

            At all times complained of the unsafe and dangerous condition of the walkway area was a
    defect unknown to Plaintiff Gracie F. Scott and was not discoverable by her in the exercise of
    reasonable care.
                                                  17.

           At all times complained of; Defendant knew, or in the exercise of ordinary care should
    have known, of the unsafe, dangerous and defective condition in the walkway, as it is heavily
    used by the patrons and that such condition, if not promptly remedied, created a particular,
    inherent, intrinsic, and unreasonable risk of physical harm to persons coining upon the store
    premises.




                                                 -3-
      Case 4:16-cv-00003-WTM-GRS Document 1-4 Filed 01/06/16 Page 6 of 24




                                                   18.
        Defendant, via its agents and employees, had knowledge of said dangerous condition
 which was superior to the knowledge of Plaintiff.

                                                   19.

        As a direct and proximate result of the aforementioned acts of negligence of Defendant
 and Defendant's agents and employees as set out herein, Plaintiff Oracie F. Scott has sustained
 pain and suffering, and medical bills and will sustain future pain and suffering, and medical
 expenses.

        WHBREFORE Plaintiff prays as follows:

        (a)    That process issue and Defendant be served with the summons and complaint
        according to law;

        (b)    That Plaintiff have a trial by ajury;

        (c)    That Plaintiff Oracle F. Scott have judgment against Defendant for all damages
        allowed under Georgia law, including, but not limited to, recovery for general and special
        damages, including pain and suffering, both mental and physical, and medical bills, in an
        amount to be proven at the time of trial;

       (d)     That Plaintiff recover the costs of this litigation;

       (e)     For such other and further relief as this Court deems just and proper.

       Respectfully submitted, this     2    day of 0 060-r 4 2015.

                                                         ARN0W, STAFFORD


                                                            +1. C4ct&
                                                         H. Craig Stafford'
                                                         Georgia Bar No. 673885
                                                         Jeffery L. Arnold
                                                         Georgia Bar No. 023375
                                                         Andrew S. Johnson
                                                         Georgia Bar No. 107116
                                                         Attorney for Plaintiff
Post Office Box 339
Hincaville, GA 31310
(912)369-4529


                                                -4-
                     Case 4:16-cv-00003-WTM-GRS Document 1-4 Filed 01/06/16 Page 7 of 24


                                                  A J'IONAL REGISTERED A GErv INC
                                         SERVICE OF PROCESS SUMMARY TRANSMITTAL FORM
 To: GLENDA PIAZZA
      Belk, Inc.                                                                                                         sop Transmittal # 527966514
        2801 Wlyvola Rd
        Charlotte, NC 28217-4500
                                                                                                                        404-965-3840 - Telephone
 Entity Served: BELK, INC. (Domestic State: DELAWARE)




 Enclosed herewith are legal documents received on behalf of the above captioned entity by National Registered Agents, Inc or its Affiliate
 in the State of GEORGIA on this 12 day of October, 2015. The following is a summary of the document(s) received:

 I.       Title of Action: GRACIE F. SCUll', Pltf. vs. BELK, INC., Dft.
 2.       Document(s) Served: Other: Summons, Complaint, First Request(s). First Interrogatories
3.        Court of Jurisdiction/Case Number: Chatham County State Court, GA
                                             Case # STCV150I572
4.        Amount Claimed, If any; N/A
5.        Method of Service:
          _X_ Personally served by:                        X Process Server                      -
                                                                                                       Deputy Sheriff                         U. S Marshall
               Delivered Via:                                  Certified Mall                    - Regular Mail                               Facsimile
               Other (Explain):
6.         Date and Time of Receipt:               10112/2015 09:29:00 AM CST
7.         Appearance/Answer Date: Within 30 days after service, exclusive of the day of service (Document(s) may contain
                                   additional answer dates)
S.         Received Prom: H. Craig Stafford                                                      9. Federal Express Airbill #
                            ARNOLD, STAFFORD
                            Post Office Box 339
                            Hinesville, GA 31310                                                 10. Call Made to: Not required
                            912-3694529
11.         Special Comments:
NRA! has retained the current log. Retain Date: 10/12/2015, Expected Purge Date: 11/11/2015
ImagcSOP
Email Notification, RALPH A. PrM RALPHjlTrScBELK.COM
Email Notification, LUTHER T. MOORE LUTHER_MOORE@BBLK.COM
Email Notification, GLENDA PIAZZA GLENDAJ'IAZZA@BELK.COM
Email Notification, REBECCA ORR REBECCA_ORR@BELK.COM




NATIONAL REGISTERED AGENTS, INC                                                                      CopiesTo:


'flansinitted by Shakinah Edwards
The information contained in this Summasy Transmittal Form is provided by National Registered Agents. Inc for informational purposes only and should not
be considered a legal opinion. It is the responsibility of the parties receiving this form to review the legal documents tbrwardcd and to take appropriate action.

ORIGINAL
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                      IN THE STATE COURT OF CHATHAM COUNTY
                                 STATE OF GEORGIA          .-
                                                                           ttl1NOy..3 AHIO:37
  GRACIE F. SCOTT                                )
                                                 )


                Plaintiff,                       )
                                                 )


 V.                                              )    CIVIL FILE NO. STCV1501572
                                                 )


 BELK, INC.,                                     )
                                                 )


                Defendant.                       )
                                                 )




                       DEFENDANT'S ANSWER AND AFFIRMATIVE
                        DEFENSES TO PLAINTIFF'S COMPLAINT

        COMES NOW Defendant BELK, INC., and hereby files this its Answer and Affirmative

 Defenses to Plaintiff's Complaint as follows:

                                        FIRST DEFENSE

        No act or omission of this Defendant either proximately caused, or contributed to

whatever damages the Plaintiff may have sustained, and on account thereof, Plaintiff is not

entitled to recover any sum of this Defendant.

                                      SECOND DEFENSE

        At all times, Defendant exercised a duty of care required by it under Law; therefore,

 Plaintiff may not recover from this Defendant in any sum or manner whatsoever.

                                       THIRD DEFENSE

       The occurrence complained of was caused, produced, and brought about directly and

proximately by the negligence of Plaintiff, and on account thereof, Plaintiff is not entitled to

recover any sum of this Defendant.




                                             Page 1
       Case 4:16-cv-00003-WTM-GRS Document 1-4 Filed 01/06/16 Page 9 of 24




                                       FOURTH DEFENSE

         Plaintiff could and should have avoided the consequences of any alleged injuries she

 sustained in the incident described in her Complaint; therefore, Defendant has no liability to

 Plaintiff.

                                         FIFTH DEFENSE

        Plaintiff, by the exercise of ordinary care, could have avoided being injured, and on

account thereof, Plaintiff is not entitled to recover any sum of this Defendant.

                                         SIXTH DEFENSE

         Plaintiff herself may have had equal knowledge of the alleged hazard described in her

 Complaint to that of the Defendants; therefore, Plaintiff's claims are barred under Georgia law.

                                      SEVENTH DEFENSE

         If Defendant was negligent, and Defendant expressly denies that it was negligent in any

manner whatsoever, Plaintiff's own negligence may have equaled or surpassed any assumed

negligence on the part of the Defendant; therefore, Plaintiff cannot recover from this Defendant

in any sum or manner.

                                       EIGHTH DEFENSE

         Plaintiff has failed to mitigate her damages and therefore cannot recover against the

Defendant.

                                        NINTH DEFENSE

        Plaintiff is not the real party in interest with regards to the items of damages outlined in

the Complaint, and can therefore not recover for same.

                                        TENTH DEFENSE

       Plaintiff's claim for attorney's fees and expenses pursuant to O.C.G.A. § 13-6-I1 is

factually and legally without merit and should be dismissed.
                                               Page 2
     Case 4:16-cv-00003-WTM-GRS Document 1-4 Filed 01/06/16 Page 10 of 24




                                    ELEVENTH DEFENSE

       Without waiving any of the above defenses and subject to the above affirmative defenses,

this Defendant responds to the individually numbered paragraphs of Plaintiff's Complaint

answers as follows:

                                                I

       Defendant does not possess sufficient information or knowledge to form abc]ief as to the

truth of the allegations contained in Paragraph 1 of Plaintiff's Complaint, and can therefore

neither admit nor deny same.

                                                2.

       This Defendant admits that Belk, Inc. operates a Belk department store located at 7804

Abercorn Street, Suite 62, Savannah, Georgia, that its registered agent for service has been

property identified by Plaintiff, and that venue is proper in Chatham County. This Belk

department store is retail establishment selling goods to the general public. This Defendant

denies the balance of the remaining allegations contained in Paragraph 2 of Plaintiff's

Complaint.

                                                3.

      This Defendant admits that Belk, Inc. operates a Belk department store located at 7804

Abercom Street, Suite 62, Savannah, Georgia. This Defendant denies the balance of the

remaining allegations contained in Paragraph 3 of Plaintiff's Complaint.

                                               4.

       Defendant admits the allegations contained in Paragraph 4 of Plaintiff's Complaint.

                                               5.

      Defendant admits the allegations contained in Paragraph 5 of Plaintiffs Complaint.


                                             Page 3
     Case 4:16-cv-00003-WTM-GRS Document 1-4 Filed 01/06/16 Page 11 of 24




                                                    6.

           Defendant does not possess sufficient information or knowledge to form a belief as to the

truth of the allegations contained in Paragraph 6 of Plaintiff's Complaint, and can therefQre

neither admit nor deny same.

                                                    7.

           This Defendant denies that it breached a duty owed to Plaintiff. Defendant does not

possess sufficient information or knowledge to form a belief as to the truth of the remaining

allegations contained in Paragraph 6 of Plaintiff's Complaint, and can therefore neither admit nor

deny same.

                                                    8.

          Defendant denies the allegations contained in Paragraph 8 of Plaintiff's Complaint.

                                                    9.

          Defendant denies the allegations contained in Paragraph 9 of Plaintiff's Complaint.

                                                   10.

          Defendant denies the allegations contained in Paragraph 10 of Plaintiff's Complaint.

                                                   11.

          Defendant denies the allegations contained in Paragraph 11 of Plaintiff's Complaint.

                                                   12.

          Defendant denies the allegations contained in Paragraph 12 of Plaintiff's Complaint.

                                                   13.

          Defendant denies the allegations contained in Paragraph 13 of Plaintiffs Complaint.

                                                   14.

          Defendant denies the allegations contained in Paragraph 14 of Plaintiff's Complaint as

stated.
                                                 Page
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                                                  15.

        Defendant denies the allegations contained in Paragraph 15 of Plaintiff's Complaint,

including subparagraphs (a) through (d).

                                                  16.

         Defendant denies the allegations contained in Paragraph 16 of Plaintiff's Complaint.

                                                  17.

        Defendant denies the allegations contained in Paragraph 17 of Plaintiff's Complaint.

                                                  18.

        Defendant denies the allegations contained in Paragraph 18 of Plaintiff's Complaint.

                                                  19.

        Defendant denies the allegations contained in Paragraph 19 of Plaintiff's Complaint.

                                       TWELTE DEFENSE

        Defendant denies the last numbered paragraph in Plaintiff's Complaint including sub-

 paragraphs (a) through (e).

        Each and every allegation contained in Plaintiffs Complaint not specifically addressed

above is hereby expressly denied.

       WHEREFORE, Defendant having fully answered the Plaintiffs Complaint prays that it

hence be discharged of the Plaintiffs Complaint on all the aforesaid defenses, and that judgment

be entered in favor of this Defendant and against the Plaintiff, with all costs cast upon the

Plaintiff. Defendants prays that:

       (a)     Plaintiff's Complaint be dismissed;

       (b)     That Defendants have a jury of 12 for a trial of this case; and

       (c)     Any further relief this Court deems as proper.


                                              Page 5
    Case 4:16-cv-00003-WTM-GRS Document 1-4 Filed 01/06/16 Page 13 of 24



                                   ii1'
      Respectfully submitted thisj day of October, 2015.


                                          SWIFT, CURRIE, McGHEE & flIERS, LLP



                                                     cia Newsom Lee
                                                -(icOria State Bar No. 198981
                                                 Jennifer L. Nichols
                                                 Georgia State Bar No. 001294
                                                 Counsel for Defendants Belk, Inc.
The Peachtree, Suite 300
 1355 Peachtree Street, N.E.
Atlanta, Georgia 3 0309-3 23 1
Telephone: (404) 874-8800
Facsimile: (404) 888-6199
tamela.leeswiftcurrie.com
jennifer.nicholsøswiftcurrie.com




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                               CERTIFICATE OF SERVICE

         I hereby certify that I have this day served a copy of the within and foregoing

Defendant's Answer and Affirmative Defenses to         Plaintiffs Complaint via U.S. Mail,

addressed as follows:

                                    H. Craig Stafford, Esq.
                                    Jeffery L. Arnold, Esq.
                                   Andrew S. Johnson, Esq.
                                  ARNOLD & STAFFORD
                                      Post Office Box 339
                                  fiincsville, Georgia 31310

         This   Rq fday of                  15.

                                          SWIFT, CURRIE, MCGHEE & HLERS, LLP



                                                   Pamela tLeWsc(in Lee
                                                   Georgia State Bar No. 198981
                                                   Jennifer L. Nichols
                                                   Georgia State Bar No. 001294
                                                   Counsel for Defendant Belk, Inc.
The Peachtree, Suite 300
 1355 Peachtree Street, N.E.
Atlanta, Georgia 30309-3231
Telephone: (404) 874-8800
Facsimile: (404) 888-6199
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jennifer.nicholsswiRcurrie.com




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3052464Y.1
     Case 4:16-cv-00003-WTM-GRS Document 1-4 Filed 01/06/16 Page 15 of 24



                                                                                           t ; j Ct1!.
                     IN THE STATE COURT OF CHATHAM COUNTY
                                STATE OF GEORGIA
                                                                                2gNOV3 Atl10:31
 GRACIE F. SCOTT                             )
                                             )


               Plaintiff;                    )
                                             )



V.                                           )       CIVIL FILE NO. STCV1501572
                                             )



BELK, INC.,                                  )
                                             )


               Defendant.                    )
                                             )




                                 DEMAND FOR JURY TRIAL

       Defendant Belk, Inc. hereby demands a trial by a jury of twelve (12) persons for all issues

properly triable by a jury.

       Respectfully submitted thisay o 1_i-ftk'                  2015.


                                             SWIFT, CURRIE, McGHEE & HERS, LLP


                                             By:
                                                   l
                                                   6 elewsomtc
                                                              tate Bar No. 198981
                                                               . Nichols
                                                     Georgia State Bar No. 001294
                                                     Counsel for Defendant Belk, Inc.
 The Peachtree, Suite 300
 1355 Peachtree Street, N.E.
 Atlanta, Georgia 30309-3231
 Telephone: (404) 874-8800
 Facsimile: (404) 888-6199
 yamela.leeswiftcunie.com
jennifer.nichols(,swiftcurrie.com
       Case 4:16-cv-00003-WTM-GRS Document 1-4 Filed 01/06/16 Page 16 of 24




                                 CERTIFICATE OF SERVICE

          I hereby certify that I have this day served a copy of the within and foregoing Demand

for Jury Trial via U.S. Mail, addressed as followsi.

                                      H. Craig Stafford, Esq.
                                      Jeffery L. Arnold, Esq.
                                    Andrew S. Johnson, Esq.
                                    ARNOLD & STAFFORD
                                       Post Office Box 339
                                    Hinesville, Georgia 31310

          This   1 day of                _.2015.

                                              SWIFT, CURBIE, McGHEE & HIERS, LIJP


                                              By:
                                                       KRfela Newsom Lee
                                                       /-Georgia State Bar No. 198981
                                                         Jennifer L. Nióhols
                                                         Georgia State Bar No. 001294
                                                         Counsel for Defendant Belk, Inc.
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jennifer.uicho1s@swiftcurrie.com




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     Case 4:16-cv-00003-WTM-GRS Document 1-4 Filed 01/06/16 Page 17 of 24



                                                                                                   FIL l('
                     IN THE STATE COURT OF CHATHAM COUNTY
                                STATE OF GEORGIA                                    2015 NOV
GRACIE F. SCOTT

               Plaintiff,

V.                                                    CIVIL FILE NO. STCVI501572

BELK, INC.,

               Defendant.


                 RULE 5.2 CERTIFICATE OF SERVICE OF DISCOVERY

       Pursuant to Rule 5.2 of the Georgia Uniform Superior Court Rules, this is to certify that

I have this date served a true and correct copy of the following:

       1.     Defendant's First Continuing Interrogatories to Plaintiff Gracie F. Scott; and

      2.      Defendant's First Request for Production of Documents to Plaintiff Gracie F.
              Scott

upon all parties to this matter by depositing a true copy of same in the U. S. Mail, proper

postage prepaid, addressed to counsel of record as follows:

                                      H. Craig Stafford, Esq.
                                      Jeffery L. Arnold, Esq.
                                    Andrew S. Johnson, Esq.
                                    ARNOLD & STAFFORD
                                       Post Office Box 339
                                    Hinesville, Georgia 31310


      Respectfully submitted this   ety    ofj4__ ., 2015.


                                             SWIFT, CURRIE, McGIIEE & HIERS, LLP


                                             By:
                                                     ,Pfj4'clL      s
                                                             aNu ;w onrt6
                                                   ,Icorgia State Bar No. 198981
      Case 4:16-cv-00003-WTM-GRS Document 1-4 Filed 01/06/16 Page 18 of 24




                                         Jennifer L. Nichols
                                         Georgia State Bar No. 001294
                                         Counsel for Defendant Belk, Inc.
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3052460v.1
         Case 4:16-cv-00003-WTM-GRS Document 1-4 Filed 01/06/16 Page 19 of 24




                       IN THE STATE COURT OF CHATHAM COUNTY
                                  STATE OF GEORGIA

GRACIE F. SCOTT,                                *
                                                *
                 Plaintiff,                     *
                                                *       CIVIL ACTION FILE
 V   .                                          *
                                                *       NO. STCV1501572
BELK, INC.,                                     *
                                                *
                 Defendant.                     *

                   RULE 5.2 CERTIFICATE OF SERVICE OF DISCOVERY

          Pursuant to Rule 5.2 of the Georgia Uniform Superior Court Rules, this is to certify that I

have this date served a true and correct copy of the following:

          1.     Defendant's Responses to Plaintiff's First Request for Admissions to
                 Defendant;

                 Defendant Belk, Inc. 's Objections and Responses to Plaintiffs' First
                 Interrogatories to Defendant; and

          3.     Defendant Belk, Inc. 's Objections and Responses to Plaintiffs' First Request
                 for Production and Things to Defendant

upon all parties to this matter by depositing a true copy of same in the U. S. Mail, proper postage

prepaid, addressed to counsel of record as follows:

                                       H. Craig Stafford, Esq.
                                       Jeffery L. Arnold, Esq.
                                      Andrew S. Johnson, Esq.
                                      ARNOLD & STAFFORD
                                        Post Office Box 339
                                      Hinesville, Georgia 31310




          This 10th day of December 2015.
    Case 4:16-cv-00003-WTM-GRS Document 1-4 Filed 01/06/16 Page 20 of 24




                              SV I UT,. C U RRI E, McGLIE E & IHERS, LLP



                              By:
                                    Pamela Newsom Lee
                                    Georgia State Bar No. 198981
                                    Attorney for Defendant
                                    BILK, INC.

The Peachtree, Suite 300
1355 Peachtree Street, N.E.
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Telephone: (404) 874-8800
Facsimile: (404) 888-6199
PamelaJee(swificurrie,com




3069744v.1
        Case 4:16-cv-00003-WTM-GRS Document 1-4 Filed 01/06/16 Page 21 of 24




                       IN THE STATE COURT OF CHATHAM COUNTY
                                  STATE OF GEORGIA

 GRACIE F. SCOTT

                 Plaintiff,

 V.                                               CIVIL FILE NO. STCV150I572

 BELK, INC.,

                Defendant.




         UNIFORM SUPERIOR COURT RULE 52 CERTIFICATE OF SERVICE OF
                                DISCOVERY MATERIALS
       The undersigned hereby certifies that a copy or copies of the materials: Plaintiff's
Responses to Defendant Belk, Inc.'s Interrogatories and Request for Production of Documents
served via Z First Class U.S. Mail []Facsimile (J Email El Hand Delivery [] Overnight
Delivery EJ Other:

Pamela Newsom Lee
Jennifer Nichols
Swift, Currie, McGhee & Hiers, LLP
1355 Peachtree St. NE
Suite 300
Atlanta, Georgia 30309-3231




Thisc     I   day of December, 2015.

                                           ARNOLD & STAFFORD


                                          -j-[C      ,Q4- ,
                                          H. Craig Staffor
                                                                    ~   --
                                          Georgia Bar No. 673885
                                          Attorney for Plaintiffs
Post Office Box 339
}Iinesville,GA 31310
(912) 369-4529
       Case 4:16-cv-00003-WTM-GRS Document 1-4 Filed 01/06/16 Page 22 of 24




                         IN THE STATE COURT OF CHATHAM COUNTY
                                    STATE OF GEORGIA

  GRACIE F. SCOTT

                   Plaintiff,

  V.                                                     CIVIL FILE NO. STCV1501572

  RELIC, INC.,

                   Defendant.


       STIPULATION FOR EXTENSION OF TIME TO RESPOND TO DISCOVERY

         COME NOW, Plaintiff GRACIE F. SCOTT and Defendant RELIC, INC., by and

  through the undersigned counsel of record, and hereby stipulate and agree that Defendant's

  responses to Plaintiffs First Request for Admissions to Defendant, Plaintiffs' First

  Interrogatories to Defendant, and Plaintiffs' First Request for Production and Things To

  Defendant, shall be mailed on or before December 17, 2015 and shall be deemed timely as of

  that date. The parties further stipulate and agree that Plaintiffs responses to Defendant's First

  Continuing Interrogatories to Plaintiff Gracie F Scott and Defendant's First Request for

  Production of Documenis to Plaintiff Grade F Scott, shall be mailed on or before December

  21, 2015 and shall be deemed timely as of that date.

        Respectfully submitted this 20 0 day of November, 2015.

  STIPULATED AND AGREED TO BY:

ARNOLD & STAFFORD                                   swwr       :URRIE, MCGHEE & HIERS, LLP

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     Case 4:16-cv-00003-WTM-GRS Document 1-4 Filed 01/06/16 Page 24 of 24




                                  CERTIFICATE OF SERVICE

         I hereby certify that I have this day served a copy of the within and foregoing Stipulation

for Extension of Time to Respond to Discovery via U.S. Mail, addressed as follows:

                                      H. Craig Stafford, Esq.
                                      Jeffery L. Arnold, Esq.
                                     Andrew S. Johnson, Esq.
                                     ARNOLD & STAFFORD
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                                     Hinesville, Georgia 31310

         This 201b day of November, 2015.

                                               SWIFT, CURRIE, McGHEE & HERS, LLP


                                               By:
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